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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

PHYLLIS HARMON,
ORDER
Plaintiff,
14-CV-6562L

V.

CITY OF ROCHESTER, et al.,

Defendants.

 

Further to a status conference having been held With this Court on June 5, 2018,
and counsel for plaintiff having requested an opportunity to file a motion to compel, it is hereby

ORDERED, that plaintiff must file any motion to compel or for other pretrial
relief on or before June 19, 2018. Any such motion to compel filed by plaintiff, Who is now
represented by counsel, shall address any specific requests for relief that plaintiff Wishes to
pursue, including those made in motions previously filed by plaintiff pro se that are pending
before the Court (see Docket ## 30, 43). ln the event that plaintiffs motion does not specifically
incorpor'“t" any request l"r relie ' " "' y plaintm in her pro se motions, those
requests Will be considered resolved or abandoned; and it is further

ORDERED, that defendants shall file their responses on or before July 10, 2018;

and it is further

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ORDERED, that oral argument Will be heard before the undersigned on July 31,
2018, at 2:00 p.m., at 2310 United States Courthouse, 100 State Street, Rochester, New York
14614.

IT IS SO ORDEREI).

mC</\`(M u,;_lzw§av\,
MARIAN W. PAYSON
United States l\/lagistrate Judge

Dated: Rochester, NeW Yorl<
June 5 ,2018

